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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                MINUTES OF PROCEEDINGS

                                                     October 4, 2022
OFFICE: CAMDEN                                      DATE OF PROCEEDINGS

JUDGE ROBERT B. KUGLER

COURT REPORTER: MEGAN MCKAY-SOULE

                                                    Docket #   CR. 20-800 (RBK)

TITLE OF CASE:
UNITED STATES OF AMERICA
           v.

CHRISTOPHER KYLE JOHNSTON, et al.

APPEARANCES:
Christina Hud, AUSA, and David Walk, AUSA, for Govt.
Lauren Warner, Esq., for Defendant Christopher Kyle Johnston (not present)
Amanda Clark Palmer, Esq., and Don Samuel, Esq., for Defendant Trent Brockmeier (not present)
Carl Lietz, Esq., for Christopher Casseri (not present)


NATURE OF PROCEEDINGS: TELEPHONE STATUS CONFERENCE

Telephonic status conference held.
Speedy Trial continuance order to be entered.
Ordered telephone status conference set for January 4, 2023 at 9:30AM.




Time commenced: 9:30a.m.        Time Adjourned: 9:45a.m.         Total Time: 0:15

                                                    s/Lawrence MacStravic
                                                    DEPUTY CLERK
